                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN
_____________________________________________________________________________

UNITED STATES OF AMERICA,

                      Plaintiff,

       v.                                                  Case No. 06-CR-232

RAMIRO HERNANDEZ,
DAVID M. GARCIA, and
MICHAEL D. BEDOR,

                  Defendants.
_____________________________________________________________________________

                    ORDER DISMISSING PROPERTY FROM
                 FORFEITURE NOTICE OF THE INDICTMENT
_____________________________________________________________________________

       Based on the government’s motion to dismiss certain property specified in the forfeiture

provision of the Indictment filed with this Court, the Court hereby GRANTS the motion and orders

that the following items dismissed from the Indictment:

       1.     $13,080 in United States currency seized from Ramiro Hernandez’s property at the

              residence of D.M.H. and A.M.H. in Shawano, Wisconsin, on or about September 5,

              2006;

       2.     $1,006 in United States currency seized from Ramiro Hernandez on or about

              September 5, 2006;

       3.     $900 in United States currency seized from a Jeep Cherokee, registered to Ramiro

              Hernandez, on or about September 5, 2006;

       4.     $134 in United States currency seized from David M. Garcia on or about September

              5, 2006; and




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    5.     A sum of money in United States currency representing the amount of proceeds

           obtained, directly or indirectly, as a result of the distribution of controlled

           substances.


    Dated at Green Bay, Wisconsin, this 25th day of January, 2007.


                                        s/ William C. Griesbach
                                        HONORABLE WILLIAM C. GRIESBACH
                                        United States District Judge




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